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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
------------------------------------------------------------)(
MARK I. SOKOLOW, et al.,
                                    Plaintiffs,                  04 CIVIL p0397 (GBD)

                  -against-                                           JUDGMENT

THE PALES TINE LIBERATION
ORGANIZATION and THE PALESTINIAN
AUTHORITY,
                      Defendants.
------------------------------------------------------------)(

        A Jury Trial before the Honorable George B. Daniels, United States District Judge, began

on January 14, 2015, and at the conclusion of the trial, on February 23, 2015, the jury rendered a

verdict in favor of each Plaintiff and against both Defendants the Palestine Liberation Organization

and the Palestinian Authority resulting in the following judgment:

I. JANUARY 22, 2002 - JAFFA ROAD SHOOTING:

         1.      A jury verdict in favor of Plaintiff Elise Gould in the amount of $3,000,000.00,

                 which is trebled automatically pursuant to the Antiterrorism Act, 18 U.S.C. §

                 2333(a), for a total award of $9 million;

        2.       A jury verdict in favor of Plaintiff Ronald Gould in the amount of $3,000,000.00,

                 which is trebled automatically pursuant to the Antiterrorism Act, 18 U.S.C. §

                 2333(a), for a total award of$9 million;

        3.       A jury verdict in favor of Plaintiff Shayna Gould in the amount of$20,000,000.00,

                 which is trebled automatically pursuant to the Antiterrorism Act, 18 U.S.C. §

                 2333(a), for a total award of $60 million;




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     4.    A jury verdict in favor of Plaintiff Jessica Rine in the amount of $3,000,000.00,

           which is trebled automatically pursuant to the Antiterrorism Act, 18 U.S.C. §

           2333(a), for a total award of $9 million;

     5.    A jury verdict in favor of Plaintiff Henna Novack Waldman in the amount of

           $2,500,000.00, which is trebled automatically pursuant to the Antiterrorism Act, 18

           U.S.C. § 2333(a), for a total award of $7.5 million;

     6.    A jury verdict in favor of Plaintiff Morris Waldman in the amount of$2,500,000.00,

           which is trebled automatically pursuant to the Antiterrorism Act, 18 U.S.C. §

           2333(a), for a total award of $7.5 million;

     7.    A jury verdict in favor of Plaintiff Shmuel Waldman in the amount of

           $7,500,000.00, which is trebled automatically pursuant to the Antiterrorism Act, 18

           U.S.C. § 2333(a), for a total award of $22.5 million;

II. JANUARY 27, 2002 - JAFFA ROAD BOMBING:

     1.    A jury verdict in favor of Plaintiff Elana Sokolow in the amount of $2,500,000.00,

           which is trebled automatically pursuant to the Antiterrorism Act, 18 U.S.C. §

           2333(a), for a total award of $7.5 million;

     2.    A jury verdict in favor of Plaintiff Jamie Sokolow in the amount of $6,500,000.00,

           which is trebled automatically pursuant to the Antiterrorism Act, 18 U.S.C. §

           2333(a), for a total award of $19.5 million;

     3.    A jury verdict in favor of Plaintiff Lauren Sokolow in the amount of$5,000,000.00,

           which is trebled automatically pursuant to the Antiterrorism Act, 18 U.S.C. §

           2333(a), for a total award of $15 million;




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     4.    A jury verdict in favor of Plaintiff Mark Sokolow in the amount of $5,000,000.00,

           which is trebled automatically pursuant to the Antiterrorism Act, 18 U.S.C. §

           2333(a), for a total award of $15 million;

     5.    A jury verdict in favor of Plaintiff Rena Sokolow in the amount of $7,500,000.00,

           which is trebled automatically pursuant to the Antiterrorism Act, 18 U.S.C. §

           2333(a), for a total award of $22.5 million;

III. MARCH 21, 2002 - KING GEORGE STREET BOMBING:

     1.    A jury verdict in favor of Plaintiff Alan Bauer in the amount of $7,000,000.00,

           which is trebled automatically pursuant to the Antiterrorism Act, 18 U.S.C. §

           2333(a), for a total award of $21 million;

     2.    A jury verdict in favor of PlaintiffBinyamin Bauer in the amount of $1,000,000.00,

           which is trebled automatically pursuant to the Antiterrorism Act, 18 U.S.C. §

           2333(a), for a total award of $3 million;

     3.    A jury verdict in favor of Plaintiff Daniel Baur in the amount of $1,000,000.00,

           which is trebled automatically pursuant to the Antiterrorism Act, 18 U.S.C. §

           2333(a), for a total award of $3 million;

     4.    A jury verdict in favor of Plaintiff Yehonathon Bauer in the amount of

           $25,000,000.00, which is trebled automatically pursuant to the Antiterrorism Act,

           18 U.S.C. § 2333(a), for a total award of $75 million;

     5.    A jury verdict in favor of Plaintiff Yehuda Bauer in the amount of $1,000,000.00,

           which is trebled automatically pursuant to the Antiterrorism Act, 18 U.S.C. §

           2333(a), for a total award of $3 million;




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IV. JUNE 19, 2002 - FRENCH HILL BOMBING:

     1.    A jury verdict in favor of Plaintiff Leonard Mandelkom in the amount of

           $10,000,000.00, which is trebled automatically pursuant to the Antiterrorism Act,

           18 U.S.C. § 2333(a), for a total award of $30 million;

V. July 31, 2002 - HEBREW UNIVERSITY BOMBING:

     1.    A jury verdict in favor of Plaintiff Katherine Baker in the amount of $6,000,000.00,

           which is trebled automatically pursuant to the Antiterrorism Act, 18 U.S.C. §

           2333(a), for a total award of $18 million;

     2.    A jury verdict in favor of Plaintiff Benjamin Blutstein in the amount of

           $2,500,000.00, which is trebled automatically pursuant to the Antiterrorism Act, 18

           U.S.C. § 2333(a), for a total award of $7.5 million;

     3.    A jury verdict in favor of Plaintiff Rebekah Blutstein m the amount of

           $4,000,000.00, which is trebled automatically pursuant to the Antiterrorism Act, 18

           U.S.C. § 2333(a), for a total award of $12 million;

     4.    A jury verdict in favor of Plaintiff Richard Blutstein in the amount of

           $6,000,000.00, which is trebled automatically pursuant to the Antiterrorism Act, 18

           U.S.C. § 2333(a), for a total award of $18 million;

     5.    A jury verdict in favor of Plaintiff Diane Carter in the amount of $1,000,000.00,

           which is trebled automatically pursuant to the Antiterrorism Act, 18 U.S.C. §

           2333(a), for a total award of $3 million;

     6.    A jury verdict in favor of Plaintiff Larry Carter in the amount of $6,500,000.00,

           which is trebled automatically pursuant to the Antiterrorism Act, 18 U.S.C. §

           2333(a), for a total award of $19.5 million;



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7.    A jury verdict in favor of Plaintiff Shaun Choffel in the amount of $1,500,000.00,

      which is trebled automatically pursuant to the Antiterrorism Act, 18 U.S.C. §

      2333(a), for a total award of $4.5 million;

8.    A jury verdict in favor of Plaintiff Robert L. Coulter Jr. in the amount of

      $3,000,000.00, which is trebled automatically pursuant to the Antiterrorism Act, 18

      U.S.C. § 2333(a), for a total award of $9 million;

9.    A jury verdict in favor of Plaintiff Diane Coulter Miller in the amount of

      $3,000,000.00, which is trebled automatically pursuant to the Antiterrorism Act, 18

      U.S.C. § 2333(a), for a total award of $9 million;

10.   A jury verdict in favor of Plaintiff Robert L. Coulter Sr. in the amount of

      $7,500,000.00, which is trebled automatically pursuant to the Antiterrorism Act, 18

      U.S.C. § 2333(a), for a total award of $22.5 million;

11.   A jury verdict in favor of Plaintiff Janis Ruth Coulter in the amount of

      $2,500,000.00, which is trebled automatically pursuant to the Antiterrorism Act, 18

      U.S.C. § 2333(a), for a total award of $7.5 million;

12.   A jury verdict in favor of Plaintiff David Gritz in the amount of $2,500,000.00,

      which is trebled automatically pursuant to the Antiterrorism Act, 18 U.S.C. §

      2333(a), for a total award of $7.5 million;

13.   A jury verdict in favor of PlaintiffNevenka Gritz in the amount of $10,000,000.00,

      which is trebled automatically pursuant to the Antiterrorism Act, 18 U .S.C. §

      2333(a), for a total award of $30 million;




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     14.   A jury verdict in favor of PlaintiffNevenka Gritz, as successor to Norman Gritz, in

           the amount of $2,500,000.00, which is trebled automatically pursuant to the

           Antiterrorism Act, 18 U.S.C. § 2333(a), for a total award of $7.5 million;

VI. JANUARY 29, 2004-BUS NO. 19 BOMBING:

     1.    A jury verdict in favor of Plaintiff Chana Goldberg in the amount of$8,000,000.00,

           which is trebled automatically pursuant to the Antiterrorism Act, 18 U.S.C. §

           2333(a), for a total award of $24 million;

     2.    A jury verdict in favor of PlaintiffEliezer Goldberg in the amount of$4,000,000.00,

           which is trebled automatically pursuant to the Antiterrorism Act, 18 U.S.C. §

           2333(a), for a total award of $12 million;

     3.    A jury verdict in favor of Plaintiff Esther Goldberg in the amount of $8,000,000.00,

           which is trebled automatically pursuant to the Antiterrorism Act, 18 U.S.C. §

           2333(a), for a total award of $24 million;

     4.    A jury verdict in favor of Plaintiff Karen Goldberg in the amount of

           $13,000,000.00, which is trebled automatically pursuant to the Antiterrorism Act,

           18 U.S.C. § 2333(a), for a total award of $39 million;

     5.    A jury verdict in favor of Plaintiff Shoshana Goldberg m the amount of

           $4,000,000.00, which is trebled automatically pursuant to the Antiterrorism Act, 18

           U.S.C. § 2333(a), for a total award of $12 million;

     6.    A jury verdict in favor of PlaintiffTzvi Goldberg in the amount of $2,000,000.00,

           which is trebled automatically pursuant to the Antiterrorism Act, 18 U.S.C. §

           2333(a), for a total award of $6 million;




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       7.      A jury verdict in favor of Plaintiff Yaakov Goldberg in the amount of

               $2,000,000.00, which is trebled automatically pursuant to the Antiterrorism Act, 18

               U.S.C. § 2333(a), for a total award of $6 million;

       8.      A jury verdict in favor of Plaintiff Yitzhak Goldberg in the amount of

               $6,000,000.00, which is trebled automatically pursuant to the Antiterrorism Act, 18

               U.S.C. § 2333(a), for a total award of $18 million.

       IT IS HEREBY ORDERED, ADJUDGED AND DECREED: That Plaintiffs

have a judgment as against Defendants the Palestine Liberation Organization and the Palestinian

Authority jointly and severally in the amounts specified above for a total jury verdict of $218.5

million, trebled automatically pursuant to the Antiterrorism Act, 18 U.S.C. § 2333(a), for a total

award of $655.5 million.


DATED: New York, New York
       October 1, 2015



So Ordered:



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